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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                Case No.: 1:20-cv-23287-DPG


  LUIS MANUEL RODRIGUEZ, et al.,

                              Plaintiffs,

         v.


  IMPERIAL BRANDS PLC, et al.,

                              Defendants.



        NOTICE OF CHANGE OF LAW FIRM NAME AND E-MAIL ADDRESSES

         TO THE CLERK: PLEASE TAKE NOTICE that the firm of BROAD AND CASSEL

  LLP, has combined with the firm of Nelson Mullins Riley & Scarborough LLP, and will be doing

  business in Florida as NELSON MULLINS BROAD AND CASSEL. Counsel’s e-mail addresses

  have changed accordingly. The new contact information is as follows:



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                                             Respectfully submitted,


                                             NELSON MULLINS BROAD AND CASSEL

                                             /s/ Jonathan Etra
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                                 CERTIFICATE OF SERVICE


  I HEREBY CERTIFY that a true and correct copy of the foregoing was served by email via the

  CM/ECF on this 3rd day of September 2021 upon all counsel and parties of record.

                                                    /s/ Jonathan Etra
                                                    Jonathan Etra




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